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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re
                                                                 Chapter 11
Lordstown Motors Corp., et al., 1
                                                                 Case No. 23-10831 (MFW)

                                        Debtors.                 (Jointly Administered)


                                      CERTIFICATE OF SERVICE

      I, Michael Villa, depose and say that I am employed by Kurtzman Carson Consultants LLC
(KCC), the claims and noticing agent for the Debtors in the above-captioned case.

        On January 22, 2024, at my direction and under my supervision, employees of KCC caused
to be served the following documents via Electronic Mail upon the service list attached hereto as
Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

    •    Notice of Agenda of Matters Scheduled for Hearing on January 25, 2024 at 10:30 a.m.
         (ET) [Docket No. 925]

    •    Order Scheduling Omnibus Hearing Date [Docket No. 926]

    •    Notice of Increase of Hourly Rates for Baker & Hostetler, LLP [Docket No. 930]

       Furthermore, on January 22, 2024, at my direction and under my supervision, employees
of KCC caused to be served the following documents via Electronic Mail upon the service list
attached hereto as Exhibit C; and via First Class Mail upon the service list attached hereto as
Exhibit D:

    •    Sixth Monthly Application of Silverman Consulting for Allowance of Compensation
         and Reimbursement of Expenses for the Period December 1, 2023 to and Including
         December 31, 2023 [Docket No. 927]

    •    Fifth Monthly Fee Application of Baker & Hostetler LLP, as Special Litigation and
         Corporate Counsel for the Debtors, for Allowance of Compensation and
         Reimbursement of Expenses for the Period November 1, 2023 Through November 30,
         2023 [Docket No. 928]


1
         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’
service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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   •   Fourth Monthly Application of KPMG LLP Providing Audit Services to the Debtors
       Requesting Allowance of Compensation for Services Rendered and Reimbursement
       of Expenses Incurred for the Period December 1, 2023 Through December 31, 2023
       [Docket No. 929]

Dated: January 25, 2024
                                              /s/ Michael Villa
                                              Michael Villa
                                              KCC
                                              222 N Pacific Coast Highway, 3rd Floor
                                              El Segundo, CA 90245
                                              Tel 310.823.9000




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                    Exhibit A
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                                                                          Core/2002 Service List
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                                                                   Core/2002 Service List
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                    Exhibit B
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                                                                                                Core/2002 Service List
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                                                           Fee Application Service List
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